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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)



                            NOTICE OF MONTHLY FEE STATEMENT

         TO:     (a) the Office of the United States Trustee; (b) counsel to the Official Committee
                 of Unsecured Creditors; (c) the Fee Examiner and (d) all other parties required to
                 be given notice pursuant to the Interim Compensation Order.

               PLEASE TAKE NOTICE that on the date hereof, Landis Rath & Cobb LLP
(“LRC”) filed the Twentieth Monthly Fee Statement of Landis Rath & Cobb LLP as Bankruptcy
Co-Counsel to the Debtors and Debtors-in-Possession for Compensation for Professional
Services Rendered and Reimbursement of Expenses Incurred for the Period from July 1, 2024
Through and Including July 31, 2024 (the “Monthly Fee Statement”) 2 with the United States
Bankruptcy Court for the District of Delaware.

                PLEASE TAKE FURTHER NOTICE that objections (the “Objections”), if
any, to the Monthly Fee Statement must be made in accordance with the Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
[D.I. 435] (the “Interim Compensation Order”). Objections must be served on the following
parties so as to be received no later than 4:00 p.m. ET on September 18, 2024 (the “Objection
Deadline”):

                 (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New
                 York, New York 10004, Attn: Alexa J. Kranzley (kranzleya@sullcrom.com) and
                 (b) Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington,
                 Delaware 19801, Attn: Adam G. Landis (landis@lrclaw.com) and Kimberly A.
                 Brown (brown@lrclaw.com); (ii) counsel to the Committee, (a) Paul Hastings
                 LLP, 200 Park Avenue, New York, New York 10166, Attn: Kris Hansen
                 (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com) and
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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Monthly
    Fee Statement.
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               Gabriel Sasson (gabesasson@paulhastings.com) and (b) Young Conaway Stargatt
               & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware
               19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
               (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
               Wilmington, Delaware 19801, Attn: Linda Richenderfer
               (linda.richenderfer@usdoj.gov); and (iv) the Fee Examiner and her counsel,
               Godfrey & Kahn, S.C., One East Main Street, Suite 500, Madison, Wisconsin
               53705, Attn: Katherine Stadler (FTXFeeExaminer@gklaw.com) and Mark
               Hancock (mhancock@gklaw.com).

           PLEASE TAKE FURTHER NOTICE THAT IN ACCORDANCE WITH THE
INTERIM COMPENSATION ORDER, IF NO OBJECTIONS ARE SERVED IN
ACCORDANCE WITH THE INTERIM COMPENSATION ORDER, THE DEBTORS WILL
BE AUTHORIZED TO PAY LRC AN AMOUNT EQUAL TO 80% OF THE FEES AND 100%
OF THE EXPENSES REQUESTED IN THE MONTHLY FEE STATEMENT THAT ARE
UNOPPOSED WITHOUT FURTHER COURT ORDER.

               PLEASE TAKE FURTHER NOTICE that if an Objection to the Monthly Fee
Statement is served by the Objection Deadline, the parties shall follow the procedures set forth in
the Interim Compensation Order.




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Dated: August 29, 2024            LANDIS RATH & COBB LLP
       Wilmington, Delaware
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                                  Kimberly A. Brown (No. 5138)
                                  Matthew R. Pierce (No. 5946)
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                                  -and-

                                  SULLIVAN & CROMWELL LLP
                                  Andrew G. Dietderich (admitted pro hac vice)
                                  James L. Bromley (admitted pro hac vice)
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                                  Counsel for the Debtors and Debtors-in-Possession




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